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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


Lensendro Laguerre,

                  Plaintiff,

       -v-                                         Civil Action No.: 3:24-cv-01760
Andrew M. Young, Capital One Financial
Corporation, and Bond Doe,

                  Defendants.


                                           ORDER

       UPON CONSIDERATION of the Motion to Dismiss filed by Defendants Capital One

Finance Corporation and Andrew M. Young (“Defendants”), any response thereto, and for good

cause shown, it is hereby:

       ORDERED that the Motion to Dismiss is GRANTED; and it is further

       ORDERED that all claims and causes of action asserted in Plaintiff’s Amended Complaint

against Defendants are dismissed with prejudice.

       IT IS SO ORDERED.



Date: _____________ ____, _______                  ________________________
                                                   Judge Alvin W. Thompson
                                                   United States District Judge
